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                                                             September 9, 2021



 BY EMAIL                                                    MEMO ENDORSED
 The Honorable Katherine Polk Failla
 United States District Judge
 Southern District of New York
 40 Foley Square
 New York, New York 10007

                               Re:     United States v. Amin Majidi
                                       18 Cr. 328 (KPF)

 Dear Judge Failla:

                 We represent Amin Majidi in the above-referenced matter. We write to request
 that the date for Mr. Majidi’s sentencing, currently scheduled for October 6, 2021, be adjourned
 for approximately 30 days to a date in early November. We make this request once again in
 order to allow Mr. Majidi’s sentencing and the presentence submissions to occur after the
 resolution of the post-trial litigation pending before this Court. The government consents to this
 request.


                                                             Respectfully,



                                                             Brian D. Linder
                                                             Seth L. Rosenberg



 cc:    Andrea Griswold
        Joshua Naftalis
         Assistant U.S. Attorneys
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The Court is in receipt of Defendant's above request for an adjournment
of his sentencing. For the reasons cited in Defendant's letter, the
Court believes that a longer adjournment is appropriate in this matter.
Accordingly, the October 6, 2021 sentencing is hereby ADJOURNED to
January 25, 2022, at 3:00 p.m.



Dated:   September 17, 2021             SO ORDERED.
         New York, New York



                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE
